
FOR PUBLICATION



UNITED STATES COURT OF APPEALS



 FOR THE NINTH CIRCUIT






,



                    Plaintiffs - Appellants,



   v.



,



                    Defendants - Appellees.







No. 09-15703



D.C. No. 2:08-cv-00997-SRB





ORDER















,



                     Plaintiffs - Appellees,



   v.



,



                     Defendants,



   and



,



                     Defendants - Appellants.







No. 09-15806



D.C. No. 2:08-cv-00997-SRB








KOZINSKI
, Chief Judge:

Upon the vote of a majority of nonrecused active judges, it is ordered that this case be reheard en banc pursuant to Circuit Rule 35-3.  The three-judge panel opinion shall not be cited as precedent by or to any court of the Ninth Circuit.

Judges Silverman and Murguia did not participate in the deliberations or vote in this case.


